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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION




ABEL ESPINOZA,                              )
                                            )              CIVIL ACTION NO.
             Petitioner,                    )
                                            )              3:04-CV-2505-G
VS.                                         )
                                            )              CRIMINAL ACTION NO.
UNITED STATES OF AMERICA,                   )
                                            )              3:97-CR-257(01)-G
             Respondent.                    )




                                       ORDER


      After reviewing all relevant matters of record in this case, including the

findings, conclusions, and recommendation of the United States Magistrate Judge

and any objections thereto, in accordance with 28 U.S.C. § 636(b)(1), the

undersigned District Judge is of the opinion that the findings and conclusions of the

Magistrate Judge are correct and they are accepted as the findings and conclusions of

the court.

      SO ORDERED.

September 21, 2005.
